05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 3c of Aff   Pg 2 of 22
05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-14    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
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05-44481-rdd   Doc 7965-14    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
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